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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


JOSHUA PENEYCAD, Individually and on             No. 3:23-cv-01035-JAM-RAR
behalf of all others similarly situated,
                                                 Judge Jeffrey Alker Meyer
                             Plaintiff,
            vs.                                  CLASS ACTION

RTX CORPORATION f/k/a RAYTHEON
TECHNOLOGIES CORPORATION,
GREGORY HAYES, NEIL MITCHILL, and
ANTHONY F. O’BRIEN,

                            Defendants.


NEW ENGLAND TEAMSTERS PENSION                    No. 3:23-cv-01274-JAM
FUND, Individually and on behalf of all others
similarly situated,                              Judge Jeffrey Alker Meyer

                     Plaintiff,                  CLASS ACTION

       v.

RTX CORPORATION f/k/a RAYTHEON
TECHNOLOGIES CORPORATION,
GREGORY HAYES, NEIL MITCHILL, and
ANTHONY F. O’BRIEN,

                     Defendants.




   MOTION OF THE NORTHEAST PENSION FUNDS FOR CONSOLIDATION,
 APPOINTMENT AS LEAD PLAINTIFF, AND APPROVAL OF THEIR SELECTION
                          OF COUNSEL




ORAL ARGUMENT REQUESTED
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       New England Teamsters Pension Fund, Westchester Putnam Counties Heavy & Highway

Laborers Local 60 Benefits Fund, and United Union of Roofers, Waterproofers & Allied Workers

Local Union No. 8 WBPA Fund (collectively the “Northeast Pension Funds”) hereby respectfully

move the Court for entry of an Order pursuant to Section 21D(a)(3)(B) of the Securities Exchange

Act of 1934, 15 U.S.C. § 78u-4(a)(3)(B), as amended by the Private Securities Litigation Reform

Act of 1995 (the “PSLRA”): (1) consolidating the above-captioned related actions (the “Related

Actions”) pursuant to Rule 42 of the Federal Rules of Civil Procedure; (2) appointing the Northeast

Pension Funds as Lead Plaintiff; (3) approving the Northeast Pension Funds’ selection of Labaton

Sucharow LLP and Saxena White P.A. as Lead Counsel for the Class and Silver Golub & Teitell

LLP as Additional Counsel for the Class; and (4) granting such other and further relief as the Court

may deem just and proper.

       This Motion is made on the grounds that the Related Actions should be consolidated

because they involve identical questions of law and fact, and on the grounds that the Northeast

Pension Funds believe they are “the most adequate plaintiff” under the PSLRA and should,

therefore, be appointed Lead Plaintiff. Specifically, the Northeast Pension Funds believe that they

have the largest financial interest in the relief sought in this action. Further, the Northeast Pension

Funds also satisfy the requirements of Rule 23 of the Federal Rules of Civil Procedure because

their claims are typical of other Class members’ claims and because they will fairly and adequately

represent the interests of the Class. Moreover, the Northeast Pension Funds are paradigmatic Lead

Plaintiffs under the PSLRA because they are sophisticated institutional investors with a substantial

financial interest in the litigation, which guarantees effective monitoring and supervision of

counsel. The Northeast Pension Funds respectfully request oral argument.




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       This Motion is based upon the accompanying Memorandum of Law in support thereof, the

Declaration of Ian W. Sloss filed herewith, the pleadings and other filings herein, and such other

written or oral argument as may be permitted by the Court.

       WHEREFORE, the Northeast Pension Funds respectfully request that the Court:

(1) consolidate the Related Actions; (2) appoint them as Lead Plaintiff pursuant to the PSLRA;

(3) approve their selection of Labaton Sucharow LLP and Saxena White P.A. as Lead Counsel for

the Class and Silver Golub & Teitell LLP as Additional Counsel for the Class; and (4) grant any

such further relief as the Court may deem just and proper.

Dated: October 2, 2023
                                             Respectfully submitted,

                                             /s/ Ian W. Sloss
                                             Ian W. Sloss (ct31244)
                                             Johnathan Seredynski (ct30412)
                                             SILVER GOLUB & TEITELL LLP
                                             One Landmark Square, Floor 15
                                             Stamford, CT 06901
                                             Tel: (203) 425-4491
                                             isloss@sgtlaw.com
                                             jseredynski@sgtlaw.com

                                             Additional Counsel for New England Teamsters
                                             Pension Fund and Proposed Additional Counsel for
                                             the Class

                                             Eric J. Belfi (pro hac vice forthcoming)
                                             Francis P. McConville (pro hac vice forthcoming)
                                             LABATON SUCHAROW LLP
                                             140 Broadway
                                             New York, New York 10005
                                             Tel: (212) 907-0700
                                             Fax: (212) 818-0477
                                             ebelfi@labaton.com
                                             fmcconville@labaton.com

                                             Counsel for New England Teamsters Pension Fund
                                             and Proposed Lead Counsel for the Class

                                             Lester R. Hooker (pro hac vice forthcoming)


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                           SAXENA WHITE P.A.
                           7777 Glades Road, Suite 300
                           Boca Raton, FL 33434
                           Tel.: (561) 394-3399
                           Fax: (561) 394-3382
                           lhooker@saxenawhite.com

                           - and -

                           Marco A. Dueñas (pro hac vice forthcoming)
                           SAXENA WHITE P.A.
                           10 Bank Street
                           White Plains, NY 10606
                           Tel.: (914) 437-8551
                           Fax: (888) 216-2220
                           mduenas@saxenawhite.com

                           Counsel for the Westchester Putnam Counties
                           Heavy & Highway Laborers Local 60 Benefits Fund
                           and Waterproofers & Allied Workers Local Union
                           No. 8 WBPA Fund and Proposed Lead Counsel for
                           the Class




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 2nd day of October 2023, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system, which will then send a notification of such

filing to the registered participants as identified on the Notice of Electronic Filing.

                                               /s/ Ian W. Sloss
                                               Ian W. Sloss (ct31244)




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